Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57

     
      

 

 

  
     

FILED .
a Lee ‘ o aN :
a Lo pAWARUPTC Veh
aU RLLCISU Cen ea erik a aL) ett tae eemaemmeermen 8)? (1! nablels
pebor1 ERIKA PATRICE TURNER pM 2: 3h
First Name Middle Name Last Name a
Debtor 2 it
(Spouse, if filing} First Name Middfe Nama LastName uCT
United States Bankruptcy Court for the: District of EY

       

Gase number 1 9-03565-JMC-7

if known)

 

Official Form 106Sum

 

Pg 1 of 49

LY Check if this is an

amended filing

Summary of Your Assets and Liabilities and Certain Statistical Information 1215

Be as complete and accurate as possible. If two married pecple are filing together, both are equally responsibie for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

} Part 4: | Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)
ja. Copy fine 55, Total real estate, from Schedule A/B occ ccccce ccs cscscsscscsesescevsessusnaersessstsasssacscasstsasssuecuusssecceusvenssasesues

ib. Copy line 62, Total personal property, fromm Schedule A/B........ccccccssesasessesessrsasensnsesssssccsanescsectccsoececerevecersseataraessseesecsuses

te. Copy line 63, Total of alf property on Schedule A/B oc ccccececccscserseecscsesstsescssenssnsssecssscnsesenceees ssvessueesseesenresenenisesnaraeveeds

| Part 2: | Summarize Your Liabilities

TMNT

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

$ 0.00
$ 6,100
$ 6,100

 

 

 

 

 

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......... $ 4,500
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 19.145
3a. Copy the total claims from Part 1 (priority unsecured claims} from line Ge of Schedtle EVP... cscesecscscesseseseserersressvens $__is
3b. Gopy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedtle EVP wus cucsceceeeeesseees +5
Your total Habilities $ 23,615
Summarize Your Income and Expenses
4. Schedule f: Your Income (Official Form 4061) 997.24
Copy your combined monthly income from fine 12 of Schedule I ..,...,.scecerecsesrsassnsssssssessssnsucsssssssececssesecerrveavsvsssssestansennenenens $ -
& Schedule J: Your Expenses (Official Form 406J)
Copy your monthly expenses from line 22c of Schecdtsle SL u.....esccacsssesrecerersssseessnsssssssvsaassavsssstccssseeneecsreacsee seuesvestaravevanseeens $ 1,335
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 7 of 2

 
Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 2 of 49

Debtor 1 ERIKA PATRICE . TURN ER | Case number (if knexyn)) 1 9-03565-JMC-7

Firel Name Middle Name Last Name

} Part 4: | Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

wt Yes

L] No. You have nothing fo report on this part of the form. Check this box and submit this form to the court with your other schedules,

 

7. What kind of debt do you have?

family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9 for statistical purposes. 28 U.S.C. § 158,

this form to the court with your other schedufes.

) Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

CE Your debts are not primarily Consumer debts. You have nothing to report on this part of the form. Check this box and submit

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 1224-4 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.

 

 

$

1,268.96

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

9a. Domestic support cbligatians (Copy tine 6a.) £ 9.00
$b. Taxes and certain other debts you owe the government, (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) 3 0.00
9d. Student loans. (Copy line 6f.) $ 9.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line &g.}
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
Qg. Total. Add fines 9a through Of. $ 0.00

 

 

 

 

Offical Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2

 

 

 
Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 3 of 49

De CROCE Cag eater ee Rca i seme

       

Debtor1 Erika Patrice Turner

First Name Middle Name Last Name

 

            
 
  

 

  
 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

    
  
  

  
 

United States Bankruptcy Court for the: District of

Case number 1 9-03565-J Mc-7

 
 

 

() Check if this is an
amended filing

 

Official Form 106A/B

 

Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits In more than ane category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

| Part 1: | Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Bo you own or have any legal or equitable interest in any residence, building, land, or similar property?

ud No. Go to Part 2.

QJ Yes. Where is the property?
What is the property? Check all that apply.

L) Single-family home

 

 

 

 

 

14. sv anit dar uifel

Street address, if available, or other description Q Duplex or mutt Ut butlding
U1 Condominium or cooperative Current value of the Current value of the
L] Manufactured or mobile home entire property? portion you own?
CY Land $ $
L investment property

- (2 Timeshare Describe the nature of your ownership
Clty State ZIP Code O other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

CL) Debtor 4 oniy

County | Debtor 2 only
CJ Debtor 1 and Debtor 2 only = (eee in ‘ ne is yommunity property
see instructions

 

 

( Atjeast one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:
What is the property? Check all that apply.
a Single-faraily home

1.2, CE Duptex or muiti-unit building

Street address, if available, or cther description

  

 

 

 

fe:

 

 

 

4 Condominium or cooperative Current value of the Current value of the
LE Manufactured or mobile home entire property? portion you own?
U) band $ $
©) investment property D ; hi

City Sate ap codes Timeshare intoreat (ouch as fee ample, teneney by
Q) other the entireties, or a life estate}, if known.

 

Who has an interest In the property? Check one.
L] Rebtor 4 only
QI Debtor 2 only

C) Debtor 4 and Debtor 2 only Q) Check if this is community property
L3 Atleast one of the debtors and another (see instructions)

 

 

County

Other information you wish to add about this item, such as iocal
property identification number:

 

 

 

Official Form 106A/B Schedule A/B: Property page 1

 
Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 4 of 49

Erika

First Narte

Patrice

Last Name

Debtor 1
Middle Name

1.3,

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

2. Add the dollar vaiue of the portion you own for all of your entries from Part 4, including any entries for pages
you have attached for Part 1. Write that MUMMDEL NOTE, oo. eoessescsescsssessssccectentsesscennissssssstessetssiecsivssssesescsescceses. >

Turner Case number (irknawa) 1 9-03565-J MC-7

What is the property? Check al that apply.
i} Single-family home

Ly Duplex or multi-unit building

a Condominium or cooperative

L) Manufactured ar mobile home

 

 

Current value of the Current value of the

entire property? portion you own?

 

©) Lang § $

UL} Investment property

CU Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by

(2 other the entireties, or a life estate), if known.

 

 

Who has an interest in the property? Check one.

C3 Debtor 1 only

C) pebtor 2 only

L) Debtor f and Debtor 2 only

0 Atleast one of ihe debtors and another

LI check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

 

 

 

| Part 2: [EEE Your Vehicles

 

 

 

Ol No

ad Yes

34, Make: Dedge
Modet: Caliber
Year: 2009

 

Approximate mileage: 150,000

|

if you own or have more than one, describe here:

Other information:

 

 

 

Make:
Model:
Year:

3.2. —____
Approximate mileage:

Other information:

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. If you lease a vehicle, aiso report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Who has an interest in the property? Check one.
i] Debtor 1 only

Ly Debtor 2 only

Q Debtor 1 and Debter 2 only

O) at feast one of the debtors and another

       

= in Sierra SS A La
Current value ofthe Current value of the
entire property? Portion you own?

§ 3000 ¢ 2000

 

C2 Check if this is community property (see
instructions)

Who has an interest in the Property? Check one.
Q) Debtor 4 only

C1 debtor 2 only

U Debtor 1 and Debtor 2 only

CQ) At least one of the debtors and another

   

 

Current value of the Current value of the
entire property? portion you own?

hed
Raa

Ud Check if this is community property (see
instructions)

 

 

Official Form 106A/E

Schedule A/B: Property page 2

 
Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 5 of 49

Frika

First Name

Debtor 4

Middle Name

Patrice

LastName

Fu mer Case number {if known) 1 9-03565-JMC-7

 

 

 

 

3.3. Make:
Model:
Year:
Approximate mileage:
Other information:
3.4, Make:
Model:
Year: —____

Approximate mileage:

Other information:

 

 

4, Watercraft, aircraft, motor homes,

J No

LI Yes

4.4, Make:
Moder
Year:

Other information:

 

if you own or have more than one, list here:

4.2, Make:
Model:
Year,

Other information:

 

 

ATVs and other recreational vehicles, other vehicles,
Examples: Boats, trailers, motors, personal watercraft, fishin

Who has an interest in the property? Check one.
Q] Debtor 4 only

CO Debtor 2 only

CY Debtor ft and Debtor 2 only

Chat least one of the debtors and another

CI Check if this is community property (see
instructions}

Who has an interest in the property? Check one,
(2 Debtor 1 only

a Debtor 2 only

C) Debtor 1 and Debtor 2 only

3 Atieast one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
U) Debtor T only

CI} Debtor 2 only

C) Debtor 4 and Debtor 2 only

(1 Atteast one of the debtors and another

LI Cheek if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 4 only

CI pebtor 2 only

C) Debtor 1 and Debtor 2 only

  

   

Current value of the
entire property?

a>

  

Current value of the
portion you own?

 

 

Current value of the
entire property?

and accessories
g vessels, snowmobiles, motorcycle accessories

 

Current value of the
portion you own?

 

Current value of the
entire property?

 

Current value of the
portion you own?

 

 

 

Current value of the

Current value of the

 

 

6. Add the dollar value of the portion you own for all of
you have attached for Part 2. Write that number hero

 

Official Form 1064/8

entire property? portion you own?
C1 At least one of the debtors and another
C) check if this Is community property (see $. $

instructions}

your entries from Part 2, including any entries for pages > s 2,000

 

 

Schedute A/B: Property

 

Page 3

 
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Debtor? © Erika Patrice Turner

First Name Middle Name Last Name

 

Describe Your Personal and Household Items

Case number (it mown} 1 9-03565-J M C-7

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

LY No

   

 

\ Yes. Desoribe......... Living room furniture, bedroom furniture

 

 

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment: computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

 

C) No
\4 Yes, Describe.......... television, japtop, cell phone

 

 

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other arlwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections: other collections, memorabilia, collectibles
Wi No

 

C) Yes. Deseribe..........

 

 

 

¢, Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tocls; musical instruments
A No

 

O} Yes. Describe.........

 

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

VA No

 

LY Yes. Describe..........

 

 

 

. Clothes
Exampies: Everyday clothes, furs, feather coats, designer wear, shoes, accessories

QO No

1

st

 

4 Yes. Describe... clothing

 

 

12. Jewolry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding tings, heirloom jewelry, watches, gems,
gold, silver
J No

 

 

Q) Yes. Desoribe..........

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

<I No

 

L) Yes. Deseribe..........

 

 

 

14, Any other personal and household items you did not already list, including any health aids you did not list

id No

 

C Yes. Give specific
information. ........0...

 

 

15, Add the dollar value of alt of your entries fram Part 3, including any entries for pages you have attached
for Part 3. Write that mumber Were .........csccssssssccscccsesscsssescssscossesoseensarsrsessascesessssessteereaseteses

 

 

$ 4,000

§ 1,500

§ 1,500

 

 

$4000

 

 

 

Official Form 406A/B Schedule A/B: Property

page 4

 
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bebtor1 = Erika Patrice Turner Case number grinown, | 9-03565-JMC-7

 

First Name Middle Nama Last Name

Describe Your Financial Assets

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

J No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Q) VG sec sscsesssnesassssssssesssssseccnssssacsnsssssessssseconsesnsseessssussatessussuvesssessnsssvsssnsssoasaueessspsepseruruasasvastaststesscesceeseceesereee for:(: $
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other simitar institutions. if you have multiple accounts with the same institution, list each.
LI No
“4 YES oer Institution name:
17.4. Checking account: Chase Bank $ 100.00
17.2. Checking account $
17.3. Savings account $
17.4. Savings account: $
17.5, Certificates of deposit: $
17.6, Other financial account: $
17.7. Other financial account: $
17.8. Other financial account $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples; Bond funds, investment accounts with brokerage firms, money market accounts
i No
CQ) Yes. ee Institution or issuer name:
$
$
#9. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
a No Name of entity: % of ownership:
L] Yes. Give specific a, $
information about
THON. ne ecccsssssesserssee % $
% $
Official Form 106A/B Schedule A/B: Property page 5

 

 
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pebtri Erika Patrice Turner Case number ¢timown | 9-O3565-JMC-7

 

 

FirstName Middle Namo Last Name

 

 

 

20, Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory nofes, and money orders,
Non-negoliable instruments are those you cannot transfer to someone by signing or delivering them.

no

C) Yes. Give specific Issuer name:
information about
THEM cess

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4
$
21, Retirement or pension accounts
Exampies: interests in IRA, ERISA, Keogh, 401(k}, 403(b}, thrift savings accounts, or other pension or profit-sharing plans
Z No
C) Yes. List each
account separately, Type of account: Institution name:
401(K) or similar plan: $
Pension plan: $
IRA: 3
Retirement account $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of ail unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water}, telecommunications
companies, or others
(di No
CD VS ceecsesssssssstesteeee institution name or individual:
Electric: $
Gas: 3
Heating oi: §
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: 5
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
4 No
QU Yes. = [88uer name and description:
$
$
$

 

 

Official Form 106A/B Schedule AJB: Property

page 6

 
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Debtor1 Erika Patrice Turner Case number grin 9-03565-JMC-7

First Name Middle Name Last Name

 

 

 

 

24, Interests in an education IRA, in an account Ina qualified ABLE program, or under a qualified state tuition program.
26 U.S.C, §§ 530(b)(1), 529A(b), and 529(b)(1).

A} Noa
CDV GS ec ccccseccccrtsessatsscseee

institution name and description. Separately file the records of any interests.11 U.S.C. § B21{c}:

 

 

 

25. Trusts, equitable or future interests in property (other than anytiting listed in line 1), and rights or powers
exercisable for your benefit

4 No

LI Yes. Give specific
information about them... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

No

L) Yes. Give specific
information about ther... 4S

 

 

 

 

27. Licenses, franchises, and other general intanglbles
Examples: Building permits, exclusive iicenses, cooperative association holdings, liquor licenses, professional licenses

A No

CL} Yes. Give specific
information about them... $

 

 

 

 

 

   

28. Tax refunds owed to you

 

a No
LU Yes. Give specific information Federal: §
about them, including whether ee
you already filed the returns . State: $
and the tax years... cess
Local:

 

 

 

29, Family support
Exampies: Past due or tump sum alimony, Spousal support, child support, maintenance, divorce settlement, property settlement

Wi No

 

 

 

L} Yes. Give specific information.............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settiement: $

 

 

 

 

3G. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid foans you made to someone else
wi No

L) Yes. Give specific information..............

 

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 
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Debtorri1 Erika Patrice Turner Case number trou, | 9-03565-JMC-7

First Name Middle Name Last Name

 

 

 

 

31. Interests in insurance policies
Examples: Health, disability, or life Insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

Wi No

CL] Yes. Name the insurance company

: vv Company name: Beneficiary: Surrender of refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitied to receive
property because someone has died.

W No

LI Yes. Give specific information..............

 

 

 

 

33, Claims against third parties, whether or not you have filed a jawsult or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

W No

LI Yes. Describe each claim. occ.

 

 

 

 

34, Other contingent and unfiquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

Vi No

C) Yes. Describe each lai, ....ccccccoccc..

 

 

 

 

35. Any financial assets you did not afready list

Wi No

CD Yes. Give specific information...

 

 

 

 

36. Add the dollar value of ail of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number Were ............cccsssssssssssssssssessesssssnssssaseussscccesseesssennssauessessesstesanasvastsanecseceengrsnenassusnnenseseerssaessuuanensseteatss »> s____—'100.00

 

 

 

Co Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Bo you own or have any legal or equitable interest in any business-related property?

W No. Go to Part 6.
OC) Yes. Go te tine 38.

 

 

 

 

 

38. Accounts receivable or commissions you already earned

| No
L) Yes. Describe....... ,

 

 

 

39, Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

A No

C3 Yes. Describe....... s

 

 

 

 

 

 

Official Form 106A/B Schedule A/S: Property page 8

 
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 11 of 49

Debtor 1 Erika Patri ce Tu rer Case number (irkeoney | 9-03565-J M C-7

First Name Middle Name Last Name

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

bd No

 

 

 

 

(4 Yes. Describe....... s
44 inventory
No
(J Yes. Describe....... k

 

42. interests in partnerships or joint ventures

W No

(i Yes. Describe.......

 

 

Name of eniity: % af ownership:
% $
% $
% $

 

43, Gustomer fists, matling lists, or other compilations
Uw No
(3 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

CE No

 

 

 

 

 

 

 

 

 

 

 

LE Yes. Deseribe........
$
44, Any business-related property you did not already fist
Wf No
QC) Yes. Give specific $
information .........
§.
$
$
$
$
45, Add the dollar vaiue of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that number Were .occcscssssssscssssssssecssssssssscsssscsssssssussessssessnssassecsecasscensstsnssnssessesseessssesseeessnsssnavareesssceecesceneacaseseees DP ns

 

 

 

 

 

 

Prams Describe Any Farm- and Gommercial Fishing-Related Property You Own or Have an Interest in.
if you own or have an interest in farmland, [lst it in Part 1.

 

46.Do you own or have any legal or equitable Interest in any farm- or commercial fishing-related property?

wt No. Go to Part 7.
(Q Yes. Go to line 47.

 

 

 

 

 

 

 

 

 

 

47, Farm animals
Examples: Livestock, poultry, farm-raised fish

Md No

DY Yes. cee

 

 

 

 

 

 

Official Form 105A/B Schedule A/B: Property page 9
Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 12 of 49

Debtor 4 Erika Patrice Turner Case number ¢iknown) 19-03565-JMC-7

First Name Middle Name Last Name

 

48, Crops—either growing or harvested

No

LI Yes. Give specific
information. .......... $

 

 

43, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
No
CFV eS i esssscceseeeee

 

 

 

 

50, Farm and fishing supplles, chemicals, and feed

| No
CD Ves ec sscsscsssssssessae.

 

 

51. Any farm- and commercial fishing-related property you did not already list
No

L) Yes. Give specific
information, ........0: $

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached Is 0.60
for Part 6. Write that number here sroansstetcooessoussuussesenronssniseceenseensnar sas eeaeesenssususuessesseseseggeussensuustveseseeeseesosscervarsuitstatatssssssnsemereeces "SP

 

 

 

BEE ve serve All Property You Own or Have an Interest in That You Did Not List Above

53. Da you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

no

LI Yes. Give specific $e
information. ............

 

 

 

 

 

 

54, Add the dollar value of all of your entries fram Part 7. Write that number FGF Eee ccccetecesssusesesssssssccuccsesevenssunevsensnvasensnee > $ 9.00

 

 

 

List the Totals of Each Part of this Form

58. Part 1: Total real estate, We 2. csssssssnsssessnsemertscesnsesassscssstuneiessinniannevaneeeissinsenariatuatissietsueeiesetiiee ccc $ 0.00

 

56, Part 2: Total vehictes, line 5 $ 2,000
57, Part 3: Total personal and household items, line 15 $ 4,000

58, Part 4: Total financial assets, line 36 $ 100.00

 

59, Part 5: Total business-related property, line 45 § 0.00

 

66, Part 6: Total farm- and fishing-related property, line 52 $ 0.00

61, Part 7: Total other property not listed, line 54 +3

 

 

62. Total personal property. Add lines 56 through 61. .......000..-.. $ 6, 100 Copy personal property total > i ¢ 6, 100

 

 

 

 

 

63. Total of ail property on Schedule A/B. Add line 55 + line 62... ” saadaeaneseecenseaseesesreaanaeatssceseraens $ 6,100

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 10

 
Case 19-03565-JMC-7 Docii_ Filed 05/30/19 EOD 05/30/19 14:44:57

UUM nme rita ee

Debtor? 2 Eika Patrice Turner

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

case number 19-03565-JMC-7

(f known)

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt

Pg 13 of 49

LU Check if this is an
amended filing

04/48

 

Be as complete and accurate as possible. If two married people are fing together, both are equaily responsible for suppiying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 1064/8} as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write

your name and case number (if Known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption

would be limited to the applicable siatutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one anly, even if your spouse is filing with you.

L) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3}
C) You are claiming federal exemptions. 11 U.S.C. § 522{b)(2)

2, For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief

 

 

 

 

 

 

 

description: 8 Os

Line from (2 100% of fair market value, up fo
Schedule A/B: any applicable statutory jimit
Brief

description: § Lis

Line from L) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief

description: $ Os

Line from ©) 100% of fair market vaiue, up to

Schedule A/B: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

OC) No
Q] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

C] No

 

Offictal Form 106C Schedule C: The Property You Claim as Exempt

 

page 1 of __
Case 19-03565-JMC-7 Doc

Erika

Flret Nate

FE sestsona Page

Patrice

Last Name

Debtor 1
Middla Name

11 Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 14 of 49

Tu mer Case number Gf knows] 1 9-03565-J MC-7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 406C

Brief

description: = ————_______ § Ug

Line frem C4 100% of fair market value, up to

Schedule A/B: __ / any applicable statutory fimit

Brief

description. § ————-_——_—_______ § Cig

Line from (J 400% of fair market vaiue, up to

Schedule A/B: any applicable statutory limit

Brief

description; = £———_________ § {is

Line from L) 100% of fair market vatue, up to

Schedule A/B: any applicable statutory limit

Brief
description; 43 —————__—_______ ff, Lis

Line from C) 100% of fair market value, up to

Schedule A/B: ; any applicable statutory limit

Brief
description: §=§ —-_——_—_____—___ §, Lis

Line from C4 100% of fair market value, up to

Schedule A/B: any applicable statutory limit

Brief ee
description; §=£————________ 3} Cig

Line from ©] 400% of fair market vaiue, up to

Schedule A/B: any applicable statutory limit

— a ence
description. = ———______._ § is

Line from CJ 100% of fair market vatue, up to

Schedule AB any applicable statutory limit

Brief a
description: § ————_—___________ $ Cs

Line from CI 100% of fair market value, up to

Schedule A/A>) ——— any applicable statutory limit

Brief ET
description: §£—————__—___._____ §. Lis

Line from L) 100% of fair market value, up to

Schedule A/B; ————— any applicable statutory limit
EEE _
description; }§ ———____—_____ $ Lig

Line from CO) 400% of fair market value, up to

Schedule A/B: any applicable statutory limit

Brief ee
description: —_—_————  E__——COd*ESFBg

Line from C) 400% of fair market vatue, up to

Schedule A/B: ———— any applicable statutory Emit ae
Brief -
description: ——————__—__ § ils

Line from C} 100% of fair market value, up to

Schedule A/B:. —— any applicable statutory limit

 

 

Schedule C: Fhe Property You Ciaim as Exempt

 
Case 19-03565-JMC-7 Doc11

Filed 05/30/19

SMTA SMI GCSPLIC eT RCCRECeCeiTL (si ast (ort Glter-t-t- ana eanen

 

 

 

pebtor1 Efika Pairice Turner
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the:

Case number £-03565-JMC-7

District of

 

(if known)

 

Official Form 106D

EOD 05/30/19 14:44:57 Pg 15 of 49

LI) Check if this Is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property 1245

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for suppiying correct
information. If more space is needed, capy the Additional Page, fill it cut, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known}.

1. Bo any creditors have claims secured by your property?
CL) No. Check this box and submit this form to fhe court with your other schedules, You have nothing else to report on this form.

CI Yes. Fill in all ef the information below.

List All Secured Claims

   
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

      
 

 

 

 

[2.1] Advanced Auto Sales Describe the property that secures the claim: $ 0.00, 0.00
Creditors Name .
2009 Dodge Caliber
Numer Streat
3750 Madison Ave As of the date you file, the claim is: Check all that apply.
Q Contingent
indianapolis, IN 46227 Vf Unliquidated
City State 2ZP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check aff that apply.
vw Debtor 1 only Wd An agreement you made (such as mortgage or secured
£] Debtor 2 only car loan}
{} Debtor 1 and Dabtor 2 only O Statutory lien (such as tax flen, mechanic's lien)
(1 Atleast one of the debtors and another OQ) Judgment iien from a lawsuit
LY other {including a right to offset)
O Check if this claim relates to a
community debt
Date debt was incurred 10/1/2017 Last 4 digits of account number 0 0 0 0
| 2.2] Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
C] Contingent
nliguidate:
C1] Unliquidated
City State ZIP Code O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
OQ) Debtor 4 only Cl An agreement you made {such as mortgage or secured
fA] Dentor 2 only car loan)
LL] bDebter 1 and Debtor 2 only LJ Statutory fien (such as tax lien, mechanic's lien)
(1 Atleast one of the debtors and another LI Judgment lien from a lawsuit
CJ other {including a right te offset)
Q) Check if this claim relates to a
community debt
curred Last 4 digits of account number __
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of
Case 19-03565-JMC-7 Doc11 . Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 16 of 49

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

pebtort  Elika Patrice Turner Case number (rina, “0G565-JMC-7
First Name Middfe Name Last Name
Additional Page
After listing any entries on this page, number them beginning with 2.3, followed
by 2.4, and so forth,
Describe the property that secures the claim: $ £ $
Creditors Name
Numbar Street
As af the date you file, the claim is: Check ail that apply.
Q Contingent
Cily State ZIP Code ( Unliquidatec
Ol Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 4 only CQ] An agreement you made (such as morigage or secured
() Debtor 2 only carfoan)
Q) debtor 1 and Debtor 2 only C1 Statutory lien (such as tax Ben, mechanie’s tien}
LY Atteast one of the debtors and another (J Judgment fien from a lawsuit
C) other (including a right to offset)
CO) Check if this claim relates to a
community debt
Date debt was incurred Last4 digits ofaccountnumber_
| Describe the property that secures the claim: $ $ $
Crecitor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
QO) unliquidated
City State ZIP Code CI pisputed
9
Who owes the debt? Chack one, Nature of lien. Check ail that apply.
O) debtor 1 only CO) an agreement you made (such as mortgage or secured
QO) debtor 2 only car loan)
L] Debtor 1 and Debtor 2 only oO Statutory lien (such as tax tien, mechanic's lien)
CI Atteast one of the debtors and another (2 Judgmenttien from a fawsuit
; i fi i ff
CO Check if this claim relates to a CF Other (including a rightto offset}
community debt
Date debt was incurred Last 4 digits of account number
| | Describe the property that secures the claim: $ $ §
Cregitors Name
Number Street
As of the date you file, the claim is: Check all that apply,
O Contingent
City Stale ZIP Code QO} wnliquidated
©} Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
UL] Debtor 4 ony C] An agreement you made (such as morgage or secured
(J Debtor 2 only car loan)
(1 Debtor 1 and Debtor 2 only CY Statutory lien (such as taxiien, mechanic's lien)
CY Atieast one of the debtors and another C] Judgment tien from a tawsuit
(4 Other {including a right to offset}
QO) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number
‘If this is the last page of your form, add the dollar value totals. from ail pages.
Write that number here: ie
Official Form 1060 Additional Page of Schedule BD: Creditors Who Have Claims Secured by Property page__of__

 

 
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Debtor t Erika

First Name Middla Name Last Name

 

Patrice

Turner

List Others to Be Notified for a Debt That You Already Listed

Case number (ranawn} 7-03565-J MC-7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Qn which Jine in Part 7 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code

| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

| | Gna which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number O O 0 Oo
Number Street
City State ZIP Code

| | On which line in Part 4 did you enter the creditor?
Name Last 4 digits ofaccountnumber
Number Street
city State ZIP Code

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

 

Official Form 106D

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

page __—sof

 
  

 

 

 

 
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Fill in this information to identify your ro a

 

Debtor1 Erika Patrice Turner

 

 

 

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing} First Name Middje Name Last Name
United States Bankruptcy Court for the: District of
case number 7-03565-JMC-7 ED Check if this is an
ar known} amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 4215

Be as complete and accurate as possible, Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G}. Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property, if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
Vd No. Go to Part 2.
L] Yes.

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of accountnumber § 5, §

 

 

Priority Creditors Name
When was the debt incurred?

 

Number Street

 

As of the date you file, the claim is: Check af that apply.

 

a Contingent
©) unliquidated
E) Disputed

City State ZIP Code

Who incurred the debt? Check one.
L] Rebtor + onty

C1 Debtor 2 onty Type of PRIORITY unsecured claim:
C1) Debtor ¢ and Debtor 2 only

C) Domestic support obligations
C2 Atleast one of the debtors and another

CJ Taxes and certain other debts you owe the government

C1 Check if this claim is for a community debt CJ Claims for death or personal injury while you were

 

 

Is the claim subject to offset? intoxicated
Ono L) other. Specify
OC] ves
2.2 | Last 4 digits of account number gg $ $

 

 

Priority Creditor’s Name
When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check ail that apply.
3 Contingent

City State ZIP Cade G Unliquidated

Who incurred the debt? Check one. C} Disputed

(] Debtor + onty

(1 Debtor 2 only

2 Debtor ¢ and Debtor 2 only

QO} Atteast one of the debtors and another

Type of PRIGRITY unsecured claim:
LY pomestic support objigations
UL Taxes and certain other debts you owe the government

) Claims for death or personal Injury while you were
(4 Check if this claim is for a community debt ans eae OF personal Inlury "

 

 

 

intoxicated
Is the clalm subject to offset? ) other. Specify
CE No
Gt ves

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1of_
Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 19 of 49

Debtor1 Efika Patrice

First Name Middle Name Last Name

Your PRIORITY Unsecured Claims — Continuation Page

Turner Case number jinown f -03565-J MC-7

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits ofaccountnumber $
Priority Creditors Namie
When was the debt incurred?
Number Street
As of the date you file, the claim Is: Check aff that apply.
QO Contingent
Cay Slaie AP Code QC) Untiquidated
UI Disputed
Who incurred the debt? Check one.
CO) Debtor 4 only Type of PRIORITY unsecured claim:
Ed Debtor 2 only LJ Domestic support obligations
LJ Debtor 4 and Debtor 2 only :
Q) taxes and certain other debts you owe the government
C1 Atleast one of the debtors and another . oe 4
2 Claims for death or personal injury while you were
(2 Cheek if this claim is for a community debt intoxicated
CJ other. Specify
Is the claim subject to offset?
CQ) Ne
OO Yes
Last4 digits of accountnumber 4
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
a] Contingent
City State ZiP Code Q) unliquidated
oO Disputed
Who incurred the debt? Check one.
Q better 1 only Type of PRIORITY unsecured claim:
UO Debtor 2 only CY Domestic support obtigations
U] Debtor 1 and Debtor 2 only .
C) Taxes and certain other debts you owe the government
CQ) Atieast one of the debtors and another . a :
(1 Claims for death or personal injury while you were
CE Check if this claim is for a community debt intoxicated
C) other. Specity
Is the claim subject to offset?
O No
QO) ves
Last 4 digits of account number $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the ctaim is: Check all that apply.
| Contingent
City State ZIP Code Unliqguidated
Disputed
Who incurred the debt? Check cne,
CJ Debtor 4 only Type of PRIORITY unsecured claim:
5 eee 2 only L) Domestic support obligations
ebtor 1 and Debtor 2 only Q) Taxes and certain other debts you owe the government
(C] At least one of the debtors and another . . y
() Claims for death or personal injury while you were
C1 Check if this claim is for a community debt intoxicated
C) other. Specify
Is the claim subject to offset?
CE No
G yes

 

 

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Erika

First Name

Patrice Turner

Last Name

Debtor 7
Middle Name

ia List All of Your NONPRIORITY Unsecured Claims

Case number ¢fknawn) 7-03565-J M C-7

 

3. Do any creditors have nonpriority unsecured claims against you?

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

a | AMSHER COLLECTION SERVICES

 

 

 

   

Last 4 digits of account number _2 3 8 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one,

YF debtor # only

C] Debtor 2 only

(J Debtor 4 and Debtor 2 only

O Atleast one of the debtors and another

Check if this claim is for a community debt

is the claim subject to offset?

Yi no

Cl Yes

 

Q Contingent
(J Untiquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other, Specify

Co oOo

 

Nonprioriy Crecitor's Name 3/28/2049 $ 715
4524 SOUTHLAKE PARKWAY SUITE 15 When was the debt incurred? {2S &=' =
Number Street
HOOVER AL 35244
City State ZiP Code As of the date you file, the claim is: Check all that apply.
OQ Contingent
Who incurred the debt? Check one. Q) Untiquidated
4 Debtor 1 only O Disputed
CE Debtor 2 only
C) Debtor 1 and Debtor 2 caly Type of NONPRIORITY unsecured claim:
CI Aticast one of the debtors and another ©) Student ioans
O Check if this ciaim is fora community debt ©] Obligations arising out of a separation agreement or divarce
that you did not report as priority claims
is the claim subject to offset? (2 Debts to pension or profit-sharing plans, and other similar debts
i no C2 other. Specify
Q] Yes
4.2 CREDIT MANAGEMENT LP Last 4 digits of accountnumber 6 8 0 1 3 626
Nonpriority Creditors Name When was the debt incurred? 10/19/2018
6080 Tennyson Parkwaysuite 100
Number Street
Plano TX 75024 As of the date you file, the claim is: Check all that apply.
City State ZIP Code oO Contingent
Who incurred the debt? Check one. CL) Unfiquidated
i Debtor 1 only O1 Disputed
(2 Debtor 2 only .
CO Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(2) Atleast one of the debtors and another (J Student toans
oe | . C) Obtgaticns arising out of a separation agreement or diverce
CO) Check if this claim Is for a community debt that you did not report as priority claims
Is the claim subject to offset? (2 Debts to pension or profit-sharing plans, and other similar debts
C] other. Specify
No
OC] Yes
“3 IMC CREDIT SERVICES Last 4 digits of account number 1 4.4.9 5 9595
Nonpriority Creditors Nama When was the debt incurred? 94/19/2017
6955 Hillsdale Ct
Number Street
NDIANAPOLIS IN 46250 . .
oly aime TP Gade As of the date you file, the claim is: Check all that apply.

 

Official Form 1G6E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page of

 
Case 19-03565-JMC-7 Doc11 Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 21 of 49

Debior1 Erika Patrice Turner

 

Firet Nama Middle Name Last Name

Case number tit knows), 7-03565-J M C-7

 

Your NONPRIGRITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

NATIONAL CREDIT SYSTEMS Last 4 digits of account number g 7 Oo oO $ 4,203
Nenpriority Creditor’s Name
i 9 08/04/2014
PO BOX 312425 When was the debt incurred?
a TA As of the date you file, the claim is: Check alt that appl
ATLANTA GA 31134 S of the date you file, the claim is: Check alt that apply.
Cy State ZIP Cade C1 contingent
(2 Unliquidated
Who incurred the debt? Check cne. OQ Disputed
YW Debtor 1 only
U Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only ( Studentioans
At least one of the debtors and another iu Obligations arising out of a separation agreement or divorce that
(J Check if this claim is fora community debt you did not report as priority claims
Debts ta pension cr profit-sharing plans, and other similar debts
of ne claim subject to offset? (3 other. Specity
No
UL] Yes
MERIDIAN SHORELAND (TOWERS) Last 4 digits ofaccountnumber $. 850
Nonpricniy Creditors Name
When was the debt i a? 1/1/2014
3710 _N. MERIDIAN ST. ne ONE
Number a As of the date you file, the claim is: Ch
INDIANAPOLIS IN 46208 $ Of the date you file, the claim is: Check all that apply.
City State ZIP Cade (J Contingent
QO) vntiquidated
Who incurred the debt? Check one. 2 Disputed
vf Debtor 4 only
©] Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O Student loans
Atleast ane of the debtors and another 1 Obligations arising out of a separation agreement or divorce that
() Check if this claim is for a community debt you did not report as priority claims
LQ Debts to pension or proff-sharing plans, and other similar debts
on claim subject to offset? O other. Specity
No
Qi ves
|| ' s__7,500
STATE FARM INSURANCE Last 4 digits of account number Le
Nonpriarity Creditors Name
When was the debt I a? 2/10/2016
1100 SUPERIOR AVE. SUITE 1850 2 cemncurre
Number ereet As of the date you file, the claim is: Check alt that appl
CLEVELAND OH 44114 @ you file, the claim is: Check all that apply.
City State ZIP Cade Q Contingent
QQ unliquidated
Who incurred the debt? Check one. oO Disputed
vf Debtor 1 only
CY Debtor 2 onty Type of NONPRIORITY unsecured claim:
4 Debfor 1 and Debtor 2 only (3 student toans
Atleast one of the debtors and another tj Obtigations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as priority claims
(1 Debts to pension or profit-sharing plans, and other similar debts
One claim subject to offset? LE Other. Specify
No
(3 Yes

 

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Debtor t

Erika

Patrice

Turner

Case number steno f -03565-J Mi C-7

 

First Name Middle Name Last Name

Ee List Others to Be Notified About a Debt That You Already Listed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor fn Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 4 or 2, do not fill out or submit this page.
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): U) Part 1: Creditors with Priority Unsecured Claims
Number Steet C) Part 2: Creditors with Nonpriority Unsecured Claims
Last4 digits of accountnumber_
Cily State ZIP Code
On which entry in Part 4 or Part 2 did you list the original creditor?
Name
Line of (Check ane): (J Part 4: Creditors with Priority Unsecured Claims
Number Street L] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber
City Stata ZIP Code
On which entry in Part 4 or Part 2 did you list the original creditor?
Name
Line of (Check one}: CO) Part 1: Creditors with Priority Unsecured Claims
Number Street C} Part 2: Creditors with Nonpriorily Unsecured
Claims
Last 4 digits ofaccount number
City State ZIP Cade
On which entry in Part ¢ or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Q] Part 2: Creditors with Nonpriority Unsecured
Claims
7 Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one}: O] Part 1: Creditors with Priority Unsecured Claims
Number Street LY Part 2: Creditors with Nonpriarity Unsecured
Claims
Last4 digits of account number
City State AIP Coda
On which entry in Part 4 or Part 2 did you list the original creditor?
Name
Line of (Check ene): OI Part 1: Creditors with Priority Unsecured Claims
Number Street LY Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number___ —__ _
City State ZIP Code
x On which entry In Part 4 or Part 2 did you fist the original creditor?
ame
Line of (Check one): O Part 4: Creditors with Priority Unsecured Claims
Numb: Street
meer see Q] Part 2: Creditors with Nonpriorifty Unsecured
Claims
cy Sinte FIP Gade Last 4 digits ofaccount number_

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Debter1 Erika Patrice Turner

First Name Middle Name Last Nane

Ee « the Amounts for Each Type of Unsecured Claim

Case number (tsnown) 7-03565-J M C-7

 

Add the amounts for each type of unsecured claim.

   
  
 
 
  
  

6a. Domestic support obligations

6b, Taxes and certain other debts you owe the
government

Sc. Claims for death or personal injury while you were
intoxicated

6d. Other. Add all other priority unsecured claims.
Write that amount here.

 

6e. Total. Add lines 6a through 6d.

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical r

Gd,

6e.

 

 

 

 

 

 

 

 

 

 

‘eporting purposes only. 28 U.S.C. § 159,

 

6f. Student icans 6f. $
Gg. Cbligations arising out of a separation agreement
or divoree that you did not report as priority
claims 6g. $
Sh. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
63, Other. Add ali other nonpriority unsecured claims.
Write that amount here. 6. +¢
6j. Total. Add lines 6f through Gi. 6j.
$ ——__—.___
Official Form 406E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

 

 
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 24 of 49

ETS S eM cults ms pte Tae eee

Debtor ERIKA PATRICE TURNER

Firet Name Middle Kame Last Name

 

Debior 2
(Spouse if filing) First Name Middla Name Last Name

 

United States Bankruptcy Court for the: District of

iow ot 19-03565-JMC-7 © Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 4215

 

Be as complete and accurate as possible. If two married people are filing together, both are equaily responsible for supplying correct
information, {f more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your hame and case number (if known).

1. Do you have any executory contracts or unexpired leases?
() No. Gheck this box and file this form with the court with your other schedules. You have nothing else to report on this farm.
() Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B}.

2. List separately each person or company with whom you have the contract ar lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.4 ADVANCED AUTO SALES 2009 Dodge Caliber a
Name :
2230 E. WASHINGTON ST.

Number Street 4
INDIANAPOLIS iN 46201 :
Clty State ZIP Code |

22 BROWNSTONE APARTMENTS APARTMENT LEASE/RENT |
Name
3366 N MERDIAN ST
Number Street
INDIANAPOLIS iN 46208
City State ZIP Code

2.3 PROGRESSIVE LEASING FURNITURE
Name é
5651 W. FALAVI BLVD
Number Street :
GLENDALE AZ 85306 i
City State _ ZIP Code i

ed :
Name :
Number Street
City State ZIP Code

25 i
Name
Number Streat

cps EY cscs RSME PCR coos Stale. tot dee Zip Code SUE RSL LSE DRT TN je BSR AGENT ae Pe 4

 

 

 

 

    

Official Form 406G Schedule G: Executory Contracts and Unexpired Leases page 1of_
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 25 of 49

Debtor1 ERIKA PATRICE TURNER Case number inom! 9-03565-JMC-7

Flist Name Middle Name Last Name

 

ia Additional Page if You Have More Contracts or Leases

   

 

 

 

Name

 

Number Street

 

City State ZIP Cade

 

 

Name

 

Number Street

 

City State ZIP Code

2] :

Name

 

 

 

Number Street

 

City State ZIP Code

 

 

Name

 

 

Number Street

 

City State ZiP Cade

 

 

Name

 

Nurber Street

 

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State 4IP Code

 

Name

 

Number Street :

 

Gity State ZIP Code

 

 

Name

 

 

Number Street

 

City State ZIP Code

 

 

 

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page of__

 
Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 26 of 49

   

ELBE MUNEM Loerie) ei ies Pre

Debtr1 ERIKA PATRICE TURNER

First Name Middle Name . Last Name

 
     
          

Debtor 2
(Spouse, if filing) first Name Middle Name

 

Last Nama

       

United States Bankruptcy Court for the: District of

Case number 19-03565JMC-7

GF known) CY Check if this is an
amended filing

Official Form 106H

 

Schedule H: Your Codebtors 42415

Cedebtors are people or entities who are aiso Hable for any debts you may have. Be as complete and accurate as possible, If two married people
are filing together, both are equally responsible for supplying correct information. H more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if Known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

¥,| No
(2 Yes
2. Within the last 8 years, have you lived ina community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
L] No, Go to line 3.
CE Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
L) No

L) Yes. In which community state or territory did you live? , Fillin the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Coturn 1, list all of your codebtors, Do not Include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 406D), Schedule E/F (Official Form 1O6E/F), or Schedule G {Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

<n QO) Schedule D, jine
QO) Schedule E/F, line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street O Schedule G, line
City State 2(P Code
3.2
(] Schedule D, line
Name
O) Schedute E/F, line
Number Streat CQ} Schedule G, line
City State ZIP Code
3.3
O Schedule D, line
Name
Q] Schedule E/F, line
Number Streat O) Schedule G, line
City State ZIP Code
Official Form 1064 Schedule H: Your Codebtors

page 1 of

 
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 27 of 49

Debtar ¢ ERIKA PATRICE TU RN ER Case number (reeves | 9-03565JMC-7

First Name Middle Name Last Name

| ES Page to List More Godebtors

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

r
Q) Schedule D, line
Name ———
QO) Schedule E/F, line
Number Street “1 Schedule G, line
Cis State ZIP Code
3.
QO) Schedule D, jine
Name — a
Q) Schedule E/F, line
Number Streat Q) Schedule G, line
City Siate ZIP Cade
|
C1 Schedule D, tine
Name —_—
QO) Schedule E/F, line
Number Street QI Schedule G, tine
cily State ZIP Code
P|
QO) Schedule D, line
Name _
QO) Schedule €/F, Jine
Nomber Sirast C) Schedule G, line,
Cliy State ZIP Code
P|
QO) Schedule D, line
Name —_—
41 Schedule Ef, iine
Number Street CL) Schedule G, line
City State 2lP Code
|
Schedule D, fine
Name _
QO) Schedule EF, line
Number Street C} Schedule G, line
City State ZIP Code
|
L) Schedule D, tine
Name —__.
C1 Schedule E/F, line
Number Streat C) Schedule G, jine
Cy Stale ZIP Code
8. |
L) Schedule D, line
Name
C] Schedule E/F, line
Number Sireat Q) Schedule G,line
City State ZIP Code

 

Official Form 106H Schedule H: Your Codebtors page __—iof

 
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 28 of 49

aT MORES crue yn) identify your ec

      

Debtor1 ERIKA PATRICE TURNER

First Name Middée Name Last Name

          
  

 

  
 

Debtor 2
(Spouse, if fillng} First Nama Middle Name Last Name

 

    
      
 

United States Bankruptcy Court for the: District of

Case number 19-03565JMC-7

(lf Known)

   

Check if this is:
LJ An amended filing

LA supplement showing posipetition chapter 13
income as of the following date:

 

 
 

 

Official Form 1061

 

MM / DDS YYYY

Schedule I: Your Income 4245

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. {f you are married and pot filing jointly, and your spouse is living with you, include Information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. ff more Space is needed, attach a
separate sheet to this form. Gn the top of any additional pages, write your name and case number (if known}. Answer every question.

REE eccrine Employment

1. Fillin your employment
Information.

 

 

 

If you have more than one job,

attach a separate page with
information about additional Employment status a Employed Ci Employed
employers. (2 Not employed CJ Not employed

Include part-time, seasonal, or
self-employed work.

 

 

 

 

 

 

; HOUSEKEEPING
Occupation may include student Occupation
or homemaker, if it appties.
Emptoyer’s name COMFORT INN HOTEL
Employer's address 10290 PENNSYLVANIA PARKWA
Number Street Number Street
CARMEL IN
City State ZIP Code City State ZIP Code

How leng employed there?

Ee ove Details About Monthly income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, cambine the information for all employers for that person on the jines
below. If you need more space, attach a separate sheet to this form.

 

 

2. List monthly gross wages, salary, and commisstons (before all payrail

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2, § 1268.96 $
3. Estimate and list monthly overtime pay. 3. ++¢$ +s
4, Calculate gross income. Add line 2 + line 3. 4.1 ¢ 1268.96 $

 

 

 

 

 

 

 

 

Official Farm 106 Schedute |: Your Income page 1

 
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 29 of 49

bebtort ERIKA PATRICE TURNER

First Name Middle Name LastName

Case number (if krowa) 1 9-03565J M C-7

 

Copy Ilne 4 here............... sesecenneenanenennennecatoss

5. List all payroli deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13,Do you expect an increase or decreaso within the year after you file thls form?
No.

 

 

 

Sa, Tax, Medicare, and Social Security deductions fa. $ 496.72 $
5b, Mandatory contributions for retirement plans 5b.  § 0.00 $
5c. Voluntary contributions for retirement plans Sc. § 0.00 $
6d. Required repayments of retirement fund loans 5d. §. 0.00 $
Se. Insurance be, 0.00 $
5f. Domestic support obligations 5f og 0.00 $
5g. Union dues 5g. g, 0.00 $
5h, Other deductions. Specify:.garnishment Sh. +3 7500 +
6. Add the payroll deductions. Add lines 5a + 5b+5c+5d+5e+5f+5g+5h. 6. ¢ 196.72 8
7. Calculate total monthly take-home pay. Subtract fine 6 from line 4. 7. $ 997.24 $
&. List all other income regularly received:
8a, Net income from rental property and from operating a business,
profession, cr farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.06 $
monthly net income. Ba. -
8b. Interest and dividends bb. 0.00 $
8c, Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce § 0.00 $
settlement, and property settlement. 8c. -
8d. Unemployment compensation 8d. § 0.00 $
8e. Social Security Be. = § 0.00 $
8f. Other government assistance that you regularly receive
inciude cash assistance and the value {if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program} or housing subsidies.
Specify: ef. 0.00 $
8g. Pension or retirement income 8g. ¢ 0.00 $
8h. Other monthly Income. Specify: 8h. +$ 0.00 +4
9. Add all other income. Add lines 8a + 8b + 8¢ + 8d + Be + BF +8g + Bh. 9. | $ 0.00 $
16. Galculate monthly income. Add line 7 + line 9. 997.24 _ 997.24
Add the entries in line 40 for Debtor 1 and Debtor 2 or non-filing spouse. 4o.f $—*oe $ = 7 *
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedtie J.
Specify: 14+ ¢ 0.00
12. Add the amount in the last column of line 10 to the amount in Hne 44. The result is the combined monthly income. 997.24
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies 12. Be
Combined

monthiy income

 

(J Yes. Explain:

 

 

 

 

Official Form 1061 Schedule !: Your Income

page 2

 

 
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 30 of 49

MRR ET EMULE Lar reeem Cathie Pde ae eect on

Debtors ERIKA PATRICE TURNER

First Name Middle Name Last Name

 
        
      
       
    
 

Check if this is:

   

  
 

Debtor 2
(Spouse, if ffing) FirstName Middie Name Last Name

 

(] An amended filing

LJ A supplement showing postpetition chapter 13

United States Bankruptcy Court for the: District of expenses as of the following date:

Case number 1 7-03565-J MC-7

(if known) MM ? OD? YYYY

 

Official Form 106J

 

Schedule J: Your Expenses 42115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

1. Is this a joint case?

v4 No. Go to line 2.
Ci Yes. Does Debtor 2 five in a separate household?

QO) No
J Yes. Debtor 2 must file Official Form 106J-2, Expenses far Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

2, Do you have dependents? U1 No
Dependents relationship to Dependent’s Does dependent live
Do not list Debtor # and wf Yes, Fill out this information for Debtor 4 or Debtor 2 age with you?
Debtor 2. Gach depencent.........cccceceeee .
: LE No
Do not state the dependents son 4 rf
names. Yes
LY No
L) Yes
LE) No
O Yes
CF No
OU Yes
LI No
L] Yes
3, Do your expenses include hf No

expenses of people other than
yourself and your dependents? Cl Yes

 

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 73 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule i: Your income (Official Form 1065)

 

4, The rental or home ownership expenses for your residence. Include first mortgage payments and 400.00
any rent for the ground or lot. 4. :

If not included In fine 4:

 

 

 

4a. Real estate taxes 4a. 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4. 0.00
4d. Homeowner's association or condominium dues 4d § 0,00

 

 

 

Official Form 106J Schedule J: Your Expenses page 1

 

 
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 31 of 49

Debtor 4 ERIKA PATRICE TURNER Case number (it known), 1 7-03565-JMC-7

First Name Middle Name Last Name

 

$ 0.00

 

 

 

 

 

 

 

5. Additional mortgage payments fer your residence, such as home equity loans 5.
6. Utilities:
6a. Electricity, heat, natural gas fa. = 75.00
6b. Water, sewer, garbage collection sb. § 0.00
6c. Telephone, cell phone, internet, satellite, and cable services &. =f 100.00
6d. Other. Specify: éd. $
7. Food and housekeeping supplies 7. $ 150.00
8. Childeare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 50.00
19. Personal care products and services 1. | 20.00
11. Medical and dental expenses 4. § 0.00
12. Transportation. include gas, maintenance, bus or train fare. § 400.00
Do not include car payments. 12,
13, Entertainment, clubs, recreation, newspapers, magazines, and books 413. $ 0.00
14, Charitable contributions and religious donations 44, § 0.00
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a, Life insurance 15a. §$ 0.00
45b. Health insurance 45b.  $ 0.00
15c. Vehicle insurance 180, § 100.00
18d. Other insurance. Specify: 16d, § 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: i «= 0.60
77. Installment or lease payments:
47a, Car payments for Vehicle t 17a, §$ 340.00
17b, Gar payments for Vehicle 2 tte. §. 0.00
17c, Other. Specify: 17. § 0.00
17d. Other. Specify: id. § 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 6, Schedule I, Your income (Official Form 1061). 18, $ 0.00
12. Other payments you make to support others who do not live with you.
Specify: wa g 0,00
20. Other real property expenses not included in lines 4 or & of this form or on Schedule f: Your income.
20a. Mortgages on other property 20a. § 0.00
20b. Real estate taxes 20. § 0.00
20c. Property, homeowner's, or renter’s insurance 20c,  §. 0.00
20d. Maintenance, repair, and upkeep expenses zod.  § 0.00
Zoe. Homeowner's association or condominium dues ae Be, __9.00

 

 

 

 

Official Form 106. Schedute J: Your Expenses page 2

 
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Debtor1 ERIKA PATRICE TURNER

Firet Name Middfe Name Last Nome

Case number (if known), 1 7-03565-J MC-7

 

21. Other. Specify:

 

22, Calculate your monthly expenses,
22a, Add lines 4 through 24.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23, Calculate your monthiy net income.

23a. Copy line 12 (your combined monthly income) fram Schedule 1.

23b, Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year atter you file this form?

For example, do you expect to finish paying for your car joan within the year or do you expect your
mortgage payment to increase or decrease because of a modification fo the terms of your mortgage?

v4 No.

21.

22a,

22b.

22e.

234.

23b,

23c,

 

 

 

 

 

+5 0.00
$ 1335.00
$ 0.00
$ 1335.00

3 997 24

-$ 1335.00

$ -337.76

 

 

L} Yes. Explain here:

 

 

 

 

Official Form 106J Schedule J: Your Expenses

page 3

 

 

 

 
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a RCE GRO NCCU mT ast ctse

Debtor ERIKA PATRICE TURNER

First Name Middle Name Last Name

       

 

 

  
 

Debtor 2.
{Spouse, if filing} First Name Middle Name Last Name

 

   
     
      
 

District of

   

United States Bankruptey Gourt for the:

Case number .19-03565-JMC-7
tif known}

C Check if this is an
amended filing

 

Official Form 106Dec

 

Declaration About an Individual Debtor’s Schedules 12ns

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both, 78 U.S.C. §§ 152, 1341, 1579, and 3671.

S| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

W No

C3 Yes. Name of person, . Attach Bankruptcy Petition Preparer’s Notice, Declaratien, and
Signature (Official Form 419).

 

Under penalty of perjury, | declare that 1 have read the summary and schedules filed with this declaration and
that they are true and correct.

x

Signature of Debfor 2

 

 

Date
MM? DD f Y¥YYY

 

 

 

 

Official Form 106Bec Declaration About an Individual Debtor's Schedules
Case 19-03565-JMC-7 Doc11

Fill in this information to identify your case:

Erika

First Name

Patrice

Middle Name

Debtor 1

Debtor 2

Filed 05/30/19

Turner

Last Name

 

(Spouse, ff filing) First Name Middle Name

United States Bankruptcy Court for the:

Case number 1 9-03565-J CM-7

(if known)

District of

Last Name

 

 

Official Form 107

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

EOD 05/30/19 14:44:57 Pg 34 of 49

Q) Check if this is an
amended filing

04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. [f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Eo Give Details About Your Marital Status and Where You Lived Before

4. What is your current marital status?

C7 married
4 Not married

Wf No

 

 

 

 

 

 

 

W No

 

| Part 2: the Sources of Your Income

Official Form 107

From

Number Street

To
City State ZIP Code

From
Number Street

To
City State ZIP Code

2. During the last 3 years, have you lived anywhere other than where you live now?

LJ Yes. List ail of the places you lived in the last 3 years. Do not include where you live now.

C1 same as Debtor 1

 

(} Same as Debtor 4

From

 

Number Street

To

 

 

City

CY same as Debtor 1

State ZIP Code

C] same as Debtor 4

From

 

 

Number Street

To

 

 

City

3 Yes. Make sure you fill out Schedule H: Your Codeblors (Official Form 1064).

Statement of Financial Affairs for Individuals Filing for Bankruptcy

State ZIP Code |

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in community property state or territory? (Community property
statos and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

page 1

 
Case 19-03565-JMC-7  Doc11 Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 35 of 49

Debtor 1 Erika Patrice Turner Case number qiaoun, | 9-03565-JCM-7

First Name Middle Name Last Name

 

 

 

 

. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ail jobs and all businesses, including part-time activities.
if you are fillng a joint case and you have income that you receive together, list it only once under Debtor 1.

LO No
i Yes. Fill in the details.

 

From January 1 of current year until
the date you filed for bankruptcy:

wi Wages, commissions, § 6919.72 4 Wages, commissions,

bonuses, fips bonuses, fips

 

 

 

 

 

QO Operating a business L} Operating a business

For tast . Mi Wages, commissions, u Wages, cammissians,
calendar year bonuses, lips $ 4 6,01 2 bonuses, tips $

(January 1 to December 31 2018 _) Q Operating a business CL) Operating a business

For the calendar year before that: wi Wages, commissions, “f Wages, commissions,
. bonuses, tips 45.897 bonuses, fips §

(January 1 to December 31.2017 _) L} operating a business * ( operating a business

 

 

 

: 5, Did you receive any other income during this year or the two previous calendar years?

include income regardless of whether that income is taxable. Examples of ofher income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental incorne; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Wf No
C) Yes. Fill in the details.

 

 

 

 

  

 

 

From January 4 of current year unt! ——--———— _ $_______... ————----_ §
the date you filed for bankruptcy:

 

   

For fast calendar year:
(January 1 to December 31201 8 }
YvYY

 

 

 

 

For the calendar year before that:
(January 1 to December 312017 )
YYYY

 

 

 

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 36 of 49

Debtor1 Erika Patrice Turner Case number (rinown,1 9-03565-JCM-7

First Name Middle Name Last Nama

 

Ee List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
©] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 14 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

L] No. Go te line 7.

L) Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
fotal amount you paid that creditor. Do not include payments for domestic support obligations, such as
child suppert and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment,

u Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

uw No. Ges to line 7.

UL) Yes. List below each creditor to wham you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

$ $ L) Morigage
Creditors Name
LI} car
Number Street C Credit card

£2 toan repayment

 

LJ) Suppliers or vendors

 

City State 2IP Code C} Other

$ $ il Mortgage
Ci Car

(3 credit card

 

 

Creditors Name

 

Number Street

LY toan repayment

 

Cy Suppllers or vendors

 

 

 

 

(CU other
City State ZIP Code
$ 3 | Morigaga
Creditors Name
(4 car

(CJ credit card

 

Number Street

CL) Loan repayment

 

) Suppliers or vendors
C) other

 

City State ZIP Code

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
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pebtor1 Erika Patrice Turner Case number grinenn | 9-03565-JCM-7

First Name Middte Name Last Name

 

7. Within 1 year before you filed far bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% ar more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C, § 161. include payments for domestic support obligations,
such as child support and alimony.

NS

LL) Yes. List all payments to an insider.

 

 

 

 

$ $
insider's Name

 

Numver Street

 

 

City State ZIP Code

 

 

Ensider's Name

 

Mumber Sireet

 

 

City State ZIP Code

 

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an Insider?

Include payments on debis guaranteed or cosigned by an insider.

Hf No

O Yes. List ali payments that benefited an insider.

 

 

 

$
Insider's Name 8

 

Number Street

 

 

City Slate ZIP Code

 

 

Insider's Name

 

Number Street

 

 

 

 

i OO neem State __ZIP Code sence et aa ane teotentenanananinaneteanan

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptey page 4

 
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Deptor1 Erika Patrice Turner Caso number (rk 1 9-03565-JCM-7

First Name Middle Name Last Name

 

} Part 4:| Identify Legal Actions, Repossessions, and Foreclosures

8. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, smail claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

no

CI Yes. Fill in the details,

 

 

 

 

 

 

 

 

 

 

Case title Court Name a Pending
L) On appeal
Number Street LY concluded
Case number
City State ZiP Code
Case titte Gout Name CI Pending
UL] on appeal
Number Street Q Concluded
Case number
City State ZIP Code

 

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

WH No. Go totine 11.
QI) Yes. Fill in the information below.

 

 

 

Craditor's Name

 

 

 

Number Street

 

Property was repossessed.

 

Property was foreclosed.
Properly was garnished.

 

COCO

City Stata ZIP Cede Property was attached, seized, or levied.

 

 

 

 

Creditors Name

 

 

 

Number Street

 

Property was repossessed.

 

Properly was foreclosed.

 

Property was garnished.
City Slate ZIP Code pery gamnis

OCOo

Properly was attached, seized, or levied.

 

 

Official Form 407 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 

 
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Debtori Erika Patrice Turmer Case number griaonny 1 9-0.3565-SCM-7

First Name Middla Name Last Name

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

4 No

LI} Yes. Fill in the details.

 

 

 

 

 

Credilor’s Nama

 

Number Street

 

 

 

 

City Slate ZIP Code Last 4 digits of account number: XXXX—__

42. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

C) No
O Yes

a List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Wf No

L) Yes. Fill in the details for each gift.

 

 

 

 

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZIP Code

 

 

Parson's relationship to you

 

 

 

 

Person to Whom You Gave the G#t

 

 

Number Street

 

Clty Stata ZIP Code

Person's relationship to you

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 
Case 19-03565-JMC-7 Doc1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 40 of 49

 

 

First Name Middla Nama Last Name

Debtor 4 Erika Patrice Turner Case number tiréaovm) | 9-03565-JCM-7

44, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Wf No

©) Yes. Fill in the details for each gift or contribution.

 

 

 

Chariy's Name

 

 

Number Street

 

 

 

City State ZIP Code

ue Certain Losses

 

 

45. Within 4 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Hf No

C) Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

List Certain Payments or Transfers

 

16. Within + year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Wf No

CL) Yes. Fill in the details.

 

Person Who Was Paid

 

 

Number Street

 

 

 

 

Cily State ZIP Code

 

Emai or website address

 

 

Person Wha Mada the Payment, if Not You

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
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Dabior 7 ; Erika Patrice Tu mer Case number (# known}, 1 9-03565-JCM-7

First Name Middle Name Last Name

 

 

 

 

 

Person Who Was Paid

 

Number Stract

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Nat You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

@ No

L) Yes. Fill in the details,

 

Person Who Was Paid

 

 

Number Street

 

 

City Slaie ZIPCode |

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
De not include gifts and transfers that you have already listed on this staternent.
uw No
CI Yes. Fill in the detaiis.

 

 

 

Person Who Received Fransfer

 

Number Street

 

 

City State ZIP Cade

 

Person's relationship to you

 

 

 

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

City State ZIP Cade

 

Person's relationship to you

 

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page &

 

 
Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 42 of 49

Erika

Debter 1

Patrice

Turner

 

First Name Middle Name

Wf No

LI] Yes. Fill in the details.

Name of trust

Laat Name

Case number (tknonny | 9-03565-J CM-7

 

18. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-profection devices.)

 

 

 

 

 

 

ar List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

closed, sold, moved, or transferred?

HZ no

C} Yes. Fill in the details.

 

Name of Financial Institution

 

 

 

 

20, Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

 

 

 

 

 

 

 

securities, cash, or other valuables?
a No
UI} Yes. Fill in the details.

 

Name of Financial Institution

XXXX-— C) checking $
Number Street O Savings
QO Money inarket
a) Brokerage
City State ZIP Code | Other
XXXX- __ Ci checking $
Name of financial Institution a
| Savings
Number Street QO Money market
| Brokerage
CQ) other
City State ZIP Code

21. Do you now have, or did you have within 4 year before you filed for bankruptcy, any safe deposit box or other depository for

 

 

 

 

 

Number Street

 

 

 

Chy State ZIP Code

Official Form 107

Name

UL Yes

 

Number Street

 

City

State ZiP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

 

page 9

 

 
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Debtor 1 Eri ka Patrice Tu mer Case number rkaouny | 9-03565-J CM-7

First Nama Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
CY Yes. Fill in the details.

 

 

 

Namo of Storage Facility Name C) Yes

 

Number Street Number Streat

 

Clly State ZIP Code

 

 

City , tate ZiP Code i

 

 

 

Parco: EE Property You Hold or Gontrol for Someone Else

 

23. Do you held or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
w No
C) Yes. Fill in the details.

 

 

 

Owner's Name

 

Numb Street

 

Number Straet

 

 

 

City State = ZIP Coda

 

 

City State ZIP Code

rc o. Details About Environmental Information

 

 

For the purpose of Part 10, the following definitions apply:

= Environmental law means any federal, state, or local statute or regulation concerning pallution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controliing the cleanup of these substances, wastes, or material.

& Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental Jaw defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

2 no

C) Yes. Fil! in the details.

 

 

 

 

 

 

 

 

 

Name of site Governmental unit i
Number Street Number Street

Cily State ZIP Code
City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 
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pebtor1 Erika Patrice Turner Case number qrinaum1 9-03565-JCM-7

Firsl Name Middle Name Last Name

25, Have you notified any governmental unit of any release of hazardous material?

Wf No

C1 Yes. Fill in the details,

 

  

 

 

 

 

 

 

 

 

Name of site Governmental unit oo
|
Number Street Number Street
City State ZIP Code
City State = ZIP Code

 

 

26. Have you been a party in any judicial or administrative proceeding under any environmental jaw? Include settlements and orders.

J No

C] Yes. Fill in the details.

 

Case title.

 

 

 

ER
Court Name CI} Pending
| LI on appeal
i
Number Street i Q Concluded

 

 

1
Case number City State ZiPCode |

Er ce Details About Your Business or Connections to Any Business

27, Within 4 years before you filed for bankruptey, did you own a business or have any of the following connections to any business?
C) Asoie proprietor or self-employed ina trade, profession, or other activity, either full-time or part-time
C) A member of a Hmited liability company (LLC) or limited liability partnership (LLP)
Oa partner in a partnership
CQ) An officer, director, or managing executive of a corporation

C) An owner of at least 5% of the voting or equity securities of a corporation

aw No. None of the above applies. Go to Part 12.
CD Yes. Check all that apply above and fill in

 

details below for each business.

    

     

 

 

Business Nane

 

Number Street

 

 

 

From To

 

City stow tate, ZIP Coda

 

 

 

Business Name

 

 

 

Number Street

 

 

 

From To

 

 

 

 

City Stafe ZIP Coda

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 41

 
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Bebtor 4 Eri ka Patrice Tu mer Case number (imowny I 9-03565-JCM-7

First Name Middle Name Last Name

 

 

 

Business Name

 

Number Street

 

 

 

From To

 

Clty State ZIP Coda

 

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include al! financial
institutions, creditors, or other parties.

@ no

Q) Yes, Fill in the details below.

 

 

Name MM/DDIYYYY

 

Number Street

 

 

City State ZIP Code

i have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. i understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptey case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1344, 1519, and 3577.

x

Signature of Debtor 2

 

 

   

~ b Date
i
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107}?
C2 No
L} Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
QO) No

OC) Yes. Name af person - Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
Case 19-03565-JMC-7 Doc11_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 46 of 49

First Name Mi Last Name

Debtor 2
(Spouse, if filing) FirstName Middle Name Lest Name

 

United States Bankuptey Court for the: District of

Case number \! -OAIS~ SNC 7 L) Check if this is an

(if mown} amended filing

 

 

Official Form 108 . )
Statement of Intention for Individuals Filing Under Chapter 7 2s

If you are an individual filing under chapter 7, you must fill out this form If:

™ creditors have claims secured by your property, or

@ you have leased persona! property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
if two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

| Part 1: | List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill.in the
information below.

 

Identify the creditor and the property that.is collateral . me . . What do you intend te 4

vhat ¢ ) do with the property that
-/secures a debt? 0

    

Creditor's (3 Surrender the property.
™ moe ~ C) Retain the property and redeem it.

(J) Retain the property and enter into a
Reaffirmation Agreement,

C1 Retain the property and [explain]:

 

Description of
property
securing debt:

 

 

Creditor's CJ Surrender the property. No
name! ‘
rmnianen arsine ners minenary monmenecec—amecovws [I Retain the property and redeem it. 2 ves
ener of C3 Retain the property and enter into a

Reaffirmation Agreemant.

securing debt:
Q) Retain the property and explain}:

 

 

Creditor's (J Surrender the property. LJ No

name:
nana ~ ) Retain the property and redeem it. (J Yes
Description of
property

securing debt:

LD) Retain the property and enter into a
Reaffirmation Agreement.

L] Retain the property and [explain}:

 

 

Creditors C} Surrender the property. CE No
name:
pac de of C) Retain the property and enter into a

Reaffirmation Agreement,

securing debt:
L} Retain the property and [explain]:

 

 

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

 
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Debtor 4 Case number (/f known}
First Name Middie Name Lest Name

Ea List Your Unexpired Personal Property Leases

 

       

 

 

 

 

   

 

 

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below, Da not list reat estate loases: Unexpired leases are leases that are still in effect; the lease period has not yet
ended, You may assume an unexpired personal property lease if the trustee dods not assume it. 11 U.S.C. § 365(p)(2).
escribe your unexplred personal property leases. . CER TESS o ‘Will the lease be assumed? ee

Lessor's name: . OC No

Description of leased Yes

property:

Lessor’s name: CI No

Description of leased U Yes

property:

Lessor's name: (C3 No

Description of leased Ol ves

property:

Lessors name: . C3 No

Rete ie sei eengnenee ene ees ea eo ties oe cocutes peta tnt ates tgaweatontee es secre vapanee “scenemaneee Sete cent ernie fim thie sce ce annemiipe detees amtimvtiarites ie venmmugainwan ea aa dunt stes ccc E) Yes

Description of leased

property:

Lessors name: OI No

FECES atte 0 POSURE sae ETE A OLRM Ph ates En PSE RE Nn PERE a Oe AOR EET A Att RANE Mal foBvcuseee wench ener ate oO Yes

Description of leased

property:

Lessor’s name: No

eeeg tecamevice nti esis manne o ~~ ves

Description of leased

property:

Lessor's name: . OC) No

oe enn - - Oy¥es

Description of leased

property:

 

 

 

Ca Sign Below

 

Under penalty of perjury, | declare that i have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

Aue x

Signature of Debtor 1 Signature of Debtor 2

+

 

 

Date
MMi Obs YYYY

 

Official Form 108 Statement of [ntentlon for Individuals Filing Under Chapter 7 page 2

 
Case 19-03565-JMC-7 Doci11 Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 48 of 49
Verification of Creditor List (rev 12/04/18)

UNITED STATES BANKRUPTCY COURT
Southern District of Indiana

" "ECiiuw Tuenok ~ Case No. ~ ShUS-SMC-7

)
)
[Name of Debtor(s}] ) (XX-XXXXX)
)
)

 

Debtor(s).

C] Check if this form

is submitted with an
amended creditor list.

VERIFICATION OF CREDITOR LIST

(We) declare under penalty of perjury that all entities included or to be included in
Schedules D, E/F, G, and H are listed in the creditor list submitted with this verification.
This includes all creditors, parties to leases and executory contracts, and codebtors.

(We) declare that the names and addresses of the listed entities are true and correct to
the best of (my/our) knowledge.

(MWe) understand that (l/Ave) must file an amended creditor list and pay an amendment

fee if there are entities listed on (my/our) schedules that are not included in the creditor
list submitted with this verification.

Dated:—> 120 | ZD IF C riba Tima,

Signature of Debtor

 

 

signature of Joint Debtor

(Note: Certificate of Service not required.)

 
Case 19-03565-JMC-7 Doci1i1_ Filed 05/30/19 EOD 05/30/19 14:44:57 Pg 49 of 49

Posner Col ection Se ices
US24 Soudniave Yaeuway Suite IS
Hoovek AL 352uy

Progressive Leasing
SUS! w. Talay Bw)
Cy\endale, 42. 9520

 
